             Case 1:24-bk-10646-MB             Doc 186 Filed 05/23/24 Entered 05/23/24 16:46:39   Desc
                                                Main Document     Page 1 of 6

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                  10    Attorneys for Lineage Bank
                  11
                                              UNITED STATES BANKRUPTCY COURT
                  12                           CENTRAL DISTRICT OF CALIFORNIA
                  13                            SAN FERNANDO VALLEY DIVISION

                  14    In re:                                  Case No. 1:24-bk-10646-MB
                  15    SYNAPSE FINANCIAL
                        TECHNOLOGIES, INC.,                     Chapter 11
                  16

                  17
                                Debtor and Debtor in
                        Possession                              STATEMENT OF POSITION OF
                  18                                            LINEAGE BANK RE “U.S. TRUSTEE’S
                                                                STATEMENT OF POSITION
                  19                                            REGARDING APPOINTMENT OF A
                  20
                                                                CHAPTER 11 TRUSTEE IN THIS
                                                                CASE” [DKT. No. 182]
                  21

                  22
                                                                Hearing Date: May 24, 2024
                  23                                            Time: 8:00 a.m.
                                                                Place: U.S. Bankruptcy Court
                  24
                                                                Courtroom 303
                  25                                            21041 Burbank Boulevard
                                                                Woodland Hills, CA 91367
                  26

                  27

                  28
S TRADLING Y OCCA
C ARLSON & R AUTH
     LAWYERS
    LOS ANGELES

                       4867-9992-9793v1/108339-0001
             Case 1:24-bk-10646-MB             Doc 186 Filed 05/23/24 Entered 05/23/24 16:46:39   Desc
                                                Main Document     Page 2 of 6


                   1   TO THE HONORABLE MARTIN R. BARASH, UNITED STATES
                   2   BANKRUPTCY JUDGE, AND ALL PARTIES IN INTEREST:
                   3
                               Lineage Bank (“Lineage”) understands the urgent need to provide Synapse-
                   4
                        related end users with access to their funds and will continue to cooperate with all
                   5
                        parties to achieve this objective in accordance with applicable laws and
                   6
                        regulations.        Of paramount importance to Lineage is that the funds be
                   7
                        safeguarded and returned to their rightful owners in the correct amounts and not
                   8
                        to the wrong parties or in the wrong amounts. Lineage desires to coordinate a
                   9
                        successful transition of the funds to their rightful owners or other proper
                  10
                        custodian as soon as possible, and will continue working diligently to accomplish
                  11
                        this important objective.
                  12
                               Under the circumstances of this case, Lineage supports the U.S. Trustee’s
                  13
                        Motion for Appointment of a Chapter 11 Trustee.
                  14

                  15
                        Dated May 23, 2024                 Respectfully submitted,
                  16
                                                           BRADLEY ARANT BOULT CUMMINGS LLP
                  17
                                                                                     and
                  18
                                                           STRADLING YOCCA CARLSON & RAUTH
                  19

                  20                                       By: /s/ Paul Glassman___________
                                                                Attorneys for Lineage Bank
                  21

                  22

                  23

                  24

                  25

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                  28
S TRADLING Y OCCA
C ARLSON & R AUTH
     LAWYERS
    LOS ANGELES

                       4867-9992-9793v1/108339-0001                 1
        Case 1:24-bk-10646-MB                        Doc 186 Filed 05/23/24 Entered 05/23/24 16:46:39                                                 Desc
                                                      Main Document     Page 3 of 6



                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                            10100 N. Santa Monica Blvd, Suite 1450, Los Angeles, CA 90067

A true and correct copy of the foregoing document STATEMENT OF POSITION OF LINEAGE BANK RE “U.S.
TRUSTEE’S STATEMENT OF POSITION REGARDING APPOINTMENT OF A CHAPTER 11 TRUSTEE IN THIS
CASE” [DKT. No. 182] will be served or was served (a) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On May 23,
2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

            See Attached Service List

                                                                                                  Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On                        , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows:

                                                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 23, 2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows:

VIA FEDERAL EXPRESS
The Honorable Martin R. Barash
United States Bankruptcy Court, Central District of California
San Fernando Valley Division
21041 Burbank Boulevard, Suite 342 / Courtroom 303
Woodland Hills, CA 91367



                                                                                                  Service information continued on attached page




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  May 23, 2024                                   Suzanne Johnson                                   /s/ Suzanne Johnson
  Date                                           Printed Name                                      Signature




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                                  F 9013-3.1.PROOF.SERVICE
4867-9992-9793v1/108339-0001
Case 1:24-bk-10646-MB        Doc 186 Filed 05/23/24 Entered 05/23/24 16:46:39   Desc
                              Main Document     Page 4 of 6




                                      Service List
1:24-bk-10646-MB Notice will be electronically mailed to:

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J Scott Bovitz on behalf of Creditor EarnUp inc.
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J Scott Bovitz on behalf of Creditor EarnUp, LLC
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henetz-sara-perkins-coie-8670@ecf.pacerpro.com;rleibowitz@perkinscoie.com

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philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com

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Case 1:24-bk-10646-MB       Doc 186 Filed 05/23/24 Entered 05/23/24 16:46:39    Desc
                             Main Document     Page 5 of 6




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Case 1:24-bk-10646-MB       Doc 186 Filed 05/23/24 Entered 05/23/24 16:46:39     Desc
                             Main Document     Page 6 of 6




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David M Poitras on behalf of Interested Party Evolve Bank & Trust
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